                      Case: 1:03-cr-00516 Document #: 196 Filed: 07/10/19 Page 1 of 2 PageID #:837
                                                                                                                        (Note: Identiry Changes with Asterisks (*))
ILND 245C (Rev. 04/02/2018) Amended Judgment in a Criminal Case
Sheet I



                                    UNITED STATES DISTRICT COURT
                                                              Northern District of Illinois

 UNITED STATES OF AMERICA                                                     AMENDED JUDGMENT IN A CRIMINAL CASE
              v.
 WILLIE DIGGS                                                                 Case    Number:        I   :03-CR-005     I   6( I )

                                                                              USM      Number:      21242-424
 Date of Original Judgment: ll27/2015
 (Or Date of Last Amended Judgment)                                           Maria Teresa Gonzalez
                                                                              Defendant's Attorney
 Reason for Amendment:
 fl     Correction of Sentence on Remand (18 U.S.C. 3742(f)(l) and (2))       tr     Modification of Supervision Conditions (18 U.S.C. $$ 3563(c) or
                                                                                     3583(e))
 E      Reduction of Sentence for Changed Circumstances (Fed. R. Crim'
        P.35(b))                                                              tr     Modification of Imposed Term of Imprisonment for Extraordinary
                                                                                     and Compelling Reasons      (   l8 U.S.C.       $ 3582(cX I ))
 E      Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))
 E      Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                f]   Modification of Imposed Term of Imprisonment for Retroactive
                                                                                     Amendment(s) to the Sentencing Guidelines ( l8 U.S.C. $
 I      Modification of Imposed Term of Imprisonment Pursuant to Section             3582(cX2))
        404 of the First Step Act                                                                                                       fl
                                                                                E    Direct Motion to District Court Pursuant                zA   u.s.c.   5 zzSS
                                                                                     or E t8 u.s.c.       $ 3559(cX7)
                                                                                E    Modification of Restitution Order (18 U.S.C. (i 3664)
THE DEFENDANT:
  E pleaded guilty to count(s) I of the Indictment
                             count(s) which was accepted by the court.
   [1 pleaded nolo contendere to
   E was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of Offense                                                                         Offense Ended                            Count
 2l :846:Cp.F Conspiracy To Possess Controlled Substance and I 8:2 Conspiracy                                May 2003                                 I




The defendant is sentenced as provided in pages 2 through 2 ofthisjudgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984. Other than the amendments or modifications stated in this iudsment. the iudement previouslv entered shall stand. (See
attachments)

   E tne      defendant has been found not guilty on count(s)
   fl     Coun(s) <dismissd_counts)) dismissed on the motion of the United States.

          It is ordered that the defendant must notifu the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notiff the court and United States attorney of material ch          in economic circumstances.

                                                                                         Julv 9
                                                                                         Date        position    of



                                                                                                         . Kendall , United States District Judge
                                                                                                     Title of Judge
                 Case: 1:03-cr-00516 Document #: 196 Filed: 07/10/19 Page 2 of 2 PageID #:837
                                         Case
ILND 245C (Rev.04/02/2018) Amended Judgment in a Criminal                         (Note: ldentiry Changes with Asterisks (*))
Sheet 2 - Imorisonment                                                                                Judgment- Page2ol2

DEFENDANT: WILLIE DIGGS
CASE NUMBER: l:03-CR-00516(1)
                                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: A sentence      of
235 months is reduced to 185 months on count I of the Indictment.

   A     The court makes the following recommendations to the Bureau of Prisons: The Court recommends that the Bureau of Prisons

     immediately recalculate defendant'        s   release date.

  tr     The defendant is remanded to the custody of the United States Marshal.

  tr     The defendant shall surrender to the United States Marshal for this district:

            traton
       tr     as   notified by the United States Marshal.

       tr     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            tr      before 2:00 pm on

            tr      as   notified by the United States Marshal.

            tr      as   notified by the Probation or Pretrial Services Office.




                                                                     RETURN
                                           t

I have executed this judgment as follows:




Defendant delivered on                     to                                at                                 , with a certified copy of this
judgment.




                                                                                     UNITED STATES MARSHAL


                                                                                  By
                                                                                  DEPUTY I.INITED STATES MARSHAL
